USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1068       filed 09/23/14    page 1 of
                                              36

                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

  UNITED STATES OF AMERICA                      )
                                                )
        v.                                      )          2:11-cr-00077-PPS
                                                )
  RICHARD REYES                                 )

                                  OPINION AND ORDER

        A jury convicted Richard Reyes of a racketeering conspiracy, conspiracy to deal

 drugs, and murder in furtherance of the RICO conspiracy, all stemming from his

 membership in the Imperial Gangsters street gang. Reyes now moves for a judgment of

 acquittal or a new trial based on five areas that he identifies as creating reversible error

 in his trial. After careful consideration of each of Reyes’s arguments I find that none of

 them provides a basis for overturning the jury’s verdict, so the motion is DENIED.

                                      BACKGROUND

        Most of the facts of this case, the history of motions, and the detailed contents of

 the several-day trial aren’t relevant to this motion, so I won’t recount them here. But I

 will offer a brief overview to put some of the arguments into context. Defendant

 Richard Reyes is a member of the Imperial Gangsters (the “IGs”), a gang that was active

 in northwest Indiana from at least 2002 through 2010. The IGs bought and sold large

 quantities of cocaine and marijuana, conducted gang business, committed various

 armed robberies of drug stash houses, patrolled territory to which they laid claim, and

 fought with rival gangs in East Chicago, Gary, and elsewhere in northern Indiana. The

 indictment charged 14 separate murders and several attempted murders that were
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1068       filed 09/23/14   page 2 of
                                              36

 alleged to have been committed in furtherance of the RICO enterprise. In January 2014 a

 jury convicted Reyes of RICO conspiracy, a drug conspiracy and murder in furtherance

 of the enterprise.

        Part of the conspiracy dealt with an ongoing feud between the IGs and the Latin

 Kings, a rival gang to the IGs. The two gangs regularly fought with one another, shot at

 one another and committed other acts of violence towards one another. See, e.g., Tr. Vol.

 3 at 658-59. One of the acts of violence that stemmed from the gang rivalry was the 2007

 murder of a Latin King named Rene Alonzo. It is this murder for which the jury

 convicted Reyes.

        The very abbreviated back story of the Alonzo murder is necessary in order to

 put Reyes’s present motion into some context: On a late summer day in 2007, several

 gang members went to an East Chicago community event, the Mexican parade, and the

 Mexican festival that followed. At the festival, an IG-affiliate named Armando Ortega

 was punched by a man who had been standing with Rene Alonzo and some others.

 Ortega was understandably upset at being sucker punched, and yet he was the one

 removed from the Festival by the police. Tr. Vol. 4 at 924-29, 1022, 1044-47, 1049-50.

 Later that night, Alonzo’s group went to a nearby bar. Tr. Vol. 3 at 860; Tr. Vol. 4 at 929.

 Ortega testified that Reyes picked him up that evening in Reyes’s minivan, and set a

 course to that same bar seeking revenge against Alonzo. Reyes also mentioned that the

 attack was related to someone hassling some IG initiates (younger people hoping to join

 the gang, called “shorty folks”). Upon arriving outside the bar, Reyes used Ortega’s gun


                                              2
USDC IN/ND case 2:11-cr-00077-PPS-APR          document 1068       filed 09/23/14   page 3 of
                                             36

 to shoot and kill Alonzo who happened to be standing outside the bar at the time. Tr.

 Vol. 4 at 1058-69. Several witnesses identified Reyes as the shooter.

        As it related to the murder charge, Reyes’s primary defense at trial was that he

 had loaned his minivan to Ortega, and that it was Ortega — not Reyes — who

 committed the murder. Indeed, this is what Reyes told the police shortly after the

 murder, and it is what he also told Ortega at the time. Tr. Vol. 4 at 1109-10.

        Some of the eyewitnesses to the murder of Alonzo were members of the Latin

 Kings gang. They didn’t go to law enforcement after the shooting, and in fact kept the

 identity of the shooter close to the vest. The Latin Kings were planning on retaliating

 without the help of law enforcement. To that end, a group of people met shortly after

 the murder at a home in East Chicago. The group included Latin Kings Michael

 Comanse, Simon Rubio and Roberto Rodriguez, along with Comanse’s friend Michael

 Morris. There were other people at the home as well, but the group didn’t trust

 everyone there, so they kept their conversation private. Comanse told the others that

 Reyes was driving the car that had fired upon Alonzo. Tr. Vol. 6 at 1493-95. A police

 confidential informant was in the house during the meeting, but he was excluded from

 the conversation among Comanse, Rubio, Rodriguez and Morris. Some time later, that

 same CI called East Chicago Police Officer Terence Fife and reported that Alfredo

 Alvarez “is supposedly the one who shot and killed Alonzo.” Tr. Vol. 6 at 1487, 1493-94.

 The CI didn’t say he had witnessed the shooting, or exactly when, where, or from

 whom he had heard the rumor that Alvarez was the shooter. Tr. Vol. 6 at 1487. He was


                                              3
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1068       filed 09/23/14     page 4 of
                                              36

 essentially passing along street gossip to Detective Fife. Fife reported the information to

 the lead investigator, Detective Washington, but never called the CI in to discuss the tip

 further. Tr. Vol. 6 at 1487, 1488-89. To cast some doubt on the CI’s statement, the

 government called Comanse in rebuttal, and he testified that the CI hadn’t been present

 during the shooting or the secret conversation. Tr. Vol. 6 at 1492-94, 1498-99.

                                       DISCUSSION

        Reyes’s motion alleges five main places where he says his trial went wrong: (1) a

 series of claimed errors including an alleged Brady violation; (2) the denial of Reyes’s in-

 trial Rule 29 motion for acquittal before the case went to the jury, because Reyes argues

 there wasn’t sufficient evidence to send the case to the jury; (3) the denial of Reyes’s

 request to introduce his own hearsay statement that he made to the police shortly after

 the shooting; (4) the government’s presentation of murders and gang violence as part of

 its racketeering case, which Reyes claims was cumulative and overly prejudicial; and (5)

 the jury deliberations, which Reyes alleges were biased by fear and an obliquely

 referenced possible gang-connection.

        Federal Rules of Criminal Procedure 29 and 33 allow a criminal defendant to

 request that the Court acquit him because the evidence is so deficient on its face that no

 reasonable jury could convict him, and to request a new trial in the interests of justice,

 respectively. These are the vehicles for relief that Reyes is seeking to use through each

 of his various arguments.




                                              4
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1068        filed 09/23/14    page 5 of
                                              36

        Under Rule 29, the evidence must be viewed in the light most favorable to the

 government. After a jury has duly rendered its verdict, a challenge to the sufficiency of

 the evidence becomes even more difficult because the jury found the evidence

 sufficient. “In considering challenges to the sufficiency of the evidence, we view the

 evidence in the light most favorable to the prosecution, and then ask whether any

 rational trier of fact could have found the essential elements of a crime beyond a

 reasonable doubt. We defer to the credibility determination of the jury and overturn a

 verdict only when the record contains no evidence, regardless of how it is weighed,

 from which the jury could find guilt beyond a reasonable doubt.” United States v.

 Mohamed, No. 13-2368, 2014 U.S. App. LEXIS 13910, at *11 (7th Cir. July 22, 2014)

 (internal quotation marks, brackets and citations omitted).

        Under Rule 33, the Court may vacate a judgment and order a new trial in the

 interests of justice. “When evaluating a Rule 33 motion for a new trial, our task is to

 determine whether the verdict is so contrary to the weight of evidence that a new trial is

 required in the interests of justice.” United States v. Chambers, 642 F.3d 588, 592 (7th Cir.

 2011) (citing United States v. Washington, 184 F.3d 653, 657 (7th Cir. 1999)).

        Confusingly, Reyes has bunched unrelated arguments into the same heading in

 his brief. For clarity’s sake this Order parallels the defendant’s motion, and I will take

 up each of Reyes’s arguments under the same headings that he has chosen and in the

 same order in which he raises them in his motion.




                                               5
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1068       filed 09/23/14    page 6 of
                                               36

        I.     Alleged Brady Violation and Other Alleged Trial Errors

        The Brady Claim

        Reyes first claims that the government committed a violation of its duty to turn

 over exculpatory information under Brady v. Maryland, 373 U.S. 83, 87 (1963). Reyes

 made this argument at trial, the parties were heard (Tr. Vol. 1 at 15-26), I reviewed the

 relevant disclosures, and I issued an Order (DE 899) thoroughly addressing the issue

 and ultimately denying Reyes’s motion to dismiss (DE 815) based on this alleged Brady

 violation. The alleged Brady violation and many of Reyes’s other issues all relate to what

 Reyes sees as the undermining of his attempt to suggest to the jury that Armando

 Ortega actually committed the murder of Rene Alonzo, for which Reyes was ultimately

 convicted.

        A Brady violation involves three elements: “(1) the evidence at issue is favorable

 to the accused because it is either exculpatory or impeaching; (2) the evidence has been

 suppressed by the government, either willfully or inadvertently; and (3) the suppressed

 evidence resulted in prejudice.” United States v. O’Hara, 301 F.3d 563, 569 (7th Cir. 2002)

 (citing Strickler v. Greene, 527 U.S. 263, 281-82 (1999)). In other words, overturning a jury

 verdict on the basis of a Brady violation is a high hurdle. The violation needs to have

 been so significant that there is a reasonable probability that it affected the verdict. Id.

 There is also no Brady violation if the defense wasn’t deprived of the chance to use the

 evidence (i.e., if it was just delayed in using it), and if the evidence would have been




                                               6
USDC IN/ND case 2:11-cr-00077-PPS-APR             document 1068         filed 09/23/14     page 7 of
                                                36

 available to the defense earlier via the defense’s reasonable diligence. Id. (citing Boss v.

 Pierce, 263 F.3d 734, 739 (7th Cir. 2001), cert. denied, 535 U.S. 1078 (2002)).

        If a potential Brady violation comes to light before the trial is over, when the

 defense still has time to use the evidence, the late disclosure won’t provide a basis for

 relief. If the information requires investigation and development by the defense, then a

 continuance is appropriate. But when the defense finds out the information in time to

 use it, with or without a continuance, and chooses not to, the Seventh Circuit has been

 clear that no post-trial relief is available for the tardy disclosure. See, e.g., United States v.

 Walton, 217 F.3d 443, 450-51 (7th Cir. 2000) (“In spite of [Defendant’s] claim that he was

 harmed by the government’s delayed production, it is interesting to note that he failed

 to move for either a continuance, an adjournment or a mistrial. Thus, we are of the

 opinion that the government’s delayed disclosure of the remaining phone records did

 not come so late as to deny [Defendant] of the evidence’s ‘effective use’ at trial, had he

 chosen to do so.”) (citing United States v. Higgins, 75 F.3d 332, 335 (7th Cir. 1996); United

 States v. Williams, 738 F.2d 172, 178 (7th Cir. 1984)).

        Reyes bases his Brady argument on the government’s provision just before trial of

 two prior statements by government witness-to-be Ernesto Gonzalez — one from a 2008

 police interview and the other from Gonzalez’s 2012 Grand Jury testimony. (DE 946 at

 2; DE 815 at 1-2.) The government had provided an unattributed summary of the

 contents of the Grand Jury testimony in February 2013 — a year before trial — and

 defense counsel never requested followup information. (DE 816 at 2-3.) Gonzalez’s


                                                 7
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1068       filed 09/23/14   page 8 of
                                              36

 statement was that a guy named Alfredo Alvarez called Gonzalez for a ride the night

 Rene Alonzo was murdered. When Gonzalez arrived there were three people present:

 Alvarez, another person later identified as Armando Ortega (the same Ortega who was

 punched at the Mexican Day Festival and who testified that he was in the car when

 Reyes shot the victim); and an unidentified third person who was described as a tall,

 thin, Hispanic male. Reyes is Hispanic, but he is neither tall nor thin. Gonzalez testified

 before the Grand Jury that when he went to pick up Alvarez, Alvarez implicated

 himself in the shooting, saying something like “we got this n______, we hit him.” Tr.

 Vol. 5 at 1290-91. (DE 899 at 2.)

        As noted, several months before trial, the prosecutor, recognizing that Alvarez’s

 statement was potentially exculpatory, provided a summary of the statement to Reyes’s

 attorney. The summary of Gonzalez’s testimony describing Alvarez’s incriminating

 remark neglected to inform Reyes’s counsel that the unidentified third person who was

 with Alvarez at the time the remark was made did not meet Reyes’s description (i.e.,

 that the man was tall and thin). (DE 899 at 2-3.) The government intended to call

 Gonzalez as a witness at trial, but he fled and could not be located. Shortly before trial,

 the prosecution decided to provide the entirety of Gonzalez’s police statement and

 Grand Jury testimony to Reyes before trial. (DE 946 at 2; DE 815 at 1-2.) Reyes claimed

 to be surprised by the late disclosure, so I offered Reyes a continuance to investigate

 Gonzalez’s statement. Reyes refused the offer. Tr. Vol. 1 at 18, 29-31.




                                              8
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1068       filed 09/23/14    page 9 of
                                               36

        Reyes hinges his argument on the point that the government knew for some time

 that it couldn’t locate Gonzalez, so he wasn’t going to testify, which Reyes claims

 transmutes the prior statements from Jencks material to Brady. (DE 946 at 3.) Reyes

 argues that the Gonzalez statements would have served to exculpate Reyes in the

 murder of Rene Alonzo, and inculpate government witnesses Alfredo Alvarez and

 Armando Ortega. (DE 946 at 2; DE 899 at 1-2.) Reyes further claims that Gonzalez’s

 statements would have corroborated Reyes’s own statement to the police shortly after

 the murder that Reyes had loaned his van to Ortega, and that is the reason it was at the

 scene of the shooting. (DE 946 at 2.)

        Ultimately Reyes was permitted to introduce at trial Gonzalez’s grand jury

 statement, as stipulated by the parties. Tr. Vol. 1 at 29-31; Tr. Vol. 5 at 1280. (DE 899 at

 3.) Reyes’s counsel was therefore permitted to argue that Reyes was not involved in the

 shooting of Alonzo because he didn’t meet Gonzalez’s description of the third man

 present after the murder. Tr. Vol. 6 at 1503, 1573-74. (DE 899 at 3.)

        The question of the harm done to Reyes by the allegedly late disclosure is not a

 model of clarity. As best I can tell, Reyes is arguing that he depended on the

 government’s listing of Gonzalez as a witness, so Reyes was counting on cross-

 examining Gonzalez until just before the trial, when Reyes first learned that Gonzalez

 could not be found. Reyes’s argues that he was forced to choose between a speedy trial

 on the one hand and, on the other, taking a continuance to look for Gonzalez and maybe

 have his counsel prepare him to testify in his own defense (which Reyes says he might


                                               9
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1068        filed 09/23/14    page 10 of
                                                36

  have considered knowing that Gonzalez’s testimony supported Reyes’s). (DE 946 at 5-

  7.)

         Reyes cites to no authority for the proposition that this choice constitutes harm

  that warrants overturning a jury verdict, and this is unsurprising since the Seventh

  Circuit’s has held that late information disclosure can be remedied by allowing the

  defense time to use the information, with the grant of a continuance if necessary. See,

  e.g., United States v. Walton, 217 F.3d 443, 450-51 (7th Cir. 2000) (“In spite of

  [Defendant’s] claim that he was harmed by the government’s delayed production, it is

  interesting to note that he failed to move for either a continuance, an adjournment or a

  mistrial. Thus, we are of the opinion that the government’s delayed disclosure of the

  remaining phone records did not come so late as to deny [Defendant] of the evidence’s

  ‘effective use’ at trial, had he chosen to do so.”) (citing United States v. Higgins, 75 F.3d

  332, 335 (7th Cir. 1996); United States v. Williams, 738 F.2d 172, 178 (7th Cir. 1984)).

         As I have noted, Reyes was offered a continuance, which he declined. DE 946 at

  5; Tr. Vol. 1 at 29-31. Reyes can’t succeed in a complaint that he didn’t have enough time

  to deal with the late disclosure when the Court offered him the time to do just that.

         Stepping back to look at the big picture, it is unclear whether Gonzalez’s

  statement is even exculpatory, as it relates to who was present at a location well away

  from and well after the shooting. Ortega’s testimony provided a reasonable explanation

  of why Reyes wasn’t present when Gonzalez came by, and the jury was free to credit it.

  He said that Reyes’s girlfriend picked up Reyes and another man after the group had


                                                10
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1068        filed 09/23/14   page 11 of
                                                36

  already left the minivan at Alvarez’s brother’s house and Alvarez had taken the gun,

  and the group had switched vehicles. Tr. Vol. 4 at 1086-90. Several eyewitnesses to the

  shooting identified Reyes as the shooter. (DE 899 at 4.) Furthermore, the government

  informed Reyes of the substance of most of Gonzalez’s testimony months before the

  trial, albeit unattributed and in summary form. Reyes never requested the witness’s

  identity or any additional information about the statement. (DE 998 at 6; DE 816-1 at 3.)

  But even assuming that the Gonzalez information was exculpatory and not available to

  Reyes through the exercise of reasonable diligence, as I’ve just explained the late

  disclosure could have been remedied by a continuance. But Reyes and his counsel chose

  to proceed with the trial.

         In sum, there was no Brady violation because Reyes received the exculpatory

  evidence prior to trial and, in any event, if he felt sandbagged by the “late” disclosure

  he was given an opportunity for a continuance to investigate the matter further. The

  fact that he refused the continuance offer was his own choice.

         Improper Rebuttal

         Reyes next argues that the government introduced improper rebuttal evidence.

  “The proper function of rebuttal evidence is ‘to contradict, impeach or defuse the

  impact of the evidence offered by an adverse party.’” United States v. Grintjes, 237 F.3d

  876, 879 (7th Cir. 2001) (quoting United States v. Papia, 560 F.2d 827, 848 (7th Cir. 1977)).

  A trial court has significant discretion in deciding what rebuttal evidence to admit. Id.;

  see also, United States v. Goodwin, 770 F.2d 631, 638 (7th Cir. 1985).


                                                11
USDC IN/ND case 2:11-cr-00077-PPS-APR             document 1068        filed 09/23/14     page 12 of
                                                 36

         This issues deals with the testimony of Detective Terry Fife, and specifically a

  hearsay statement that Reyes was permitted to elicit from Fife. Here is how the issue

  developed at trial: During his case-in-chief, Reyes called Detective Fife to the stand and

  asked him about what a confidential informant had told Fife shortly after the Rene

  Alonzo murder. According to Fife, the CI told him that word on the street was that

  Armando Ortega and Alfredo Alvarez were responsible for shooting Rene Alonzo. Tr.

  Vol. 5 at 1383-86. This hearsay was admitted, over strenuous objection from the

  government. But I admitted the hearsay statement not for the truth of the matter

  asserted, but to show what if anything the information prompted the police to do. Tr.

  Vol. 5 at 1384. See, e.g., Jewett v. Anders, 521 F.3d 818, 825 n.5 (7th Cir. 2008); United States

  v. Hanson, 994 F.2d 403, 406 (7th Cir. 1993). Fife testified that he passed the information

  from his CI along to Detective Washington, the officer responsible for investigating the

  Alonzo murder.

         In its rebuttal case, the government sought to flesh out some of the details of the

  CI’s statements to Fife. To that end, the government elicited testimony to the effect that

  the CI had told Fife he didn’t have personal knowledge of the events, and Fife never

  took the information further than documenting the tip and passing it on to the lead

  investigator on the case. Tr. Vol. 6 at 1486-88. The government also re-called Michael

  Comanse to rebut the CI’s hearsay statements. Comanse testified that the CI wasn’t

  present at Rene Alonzo’s shooting, nor could the CI have had knowledge of the shooter

  based on the Latin King meeting that took place after the shooting. Tr. Vol. 6 at 1492-94.


                                                 12
USDC IN/ND case 2:11-cr-00077-PPS-APR         document 1068       filed 09/23/14   page 13 of
                                             36

  With this testimony the government sought to show that the CI really didn’t know who

  was responsible for shooting Alonzo and that the CI was just passing along street gossip

  to Detective Fife.

         Reyes appears to object to how thoroughly the CI hearsay testimony was

  rebutted, arguing that it denied him the opportunity to present a defense. (DE 946 at

  10.) Reyes argues that Fife’s additional testimony was somehow improper because it

  didn’t “address what was actually in [the CI’s] mind or personal knowledge.” (DE 946

  at 9.) With respect to Comanse, Reyes argues that he was a member of a rival gang, the

  Latin Kings, so his testimony was unreliable. He notes that, before calling Comanse, the

  government had wanted to re-call Simon Rubio, who Comanse would later testify was

  part of the Latin King conversation about Reyes driving the minivan. (DE 946 at 8-9.)

  Rubio wasn’t permitted to testify at that later point because he had remained in the

  courtroom despite the Court’s order for the exclusion of witnesses. (DE 946 at 9.) Reyes

  attempts to make hay of the fact that the government then immediately decided to call

  Comanse, instead, to testify to the same private conversation about Reyes driving the

  minivan. (Id.) Reyes suggests that the only way the government could know how its

  own witnesses would testify is if they’d coached witnesses or expected witnesses to

  coach one another. (DE 946 at 10.)

         I disagree with Reyes. I allowed Reyes to ask Fife about the CI’s statements,

  which were hearsay. But this opened the door to allowing the government to rebut the

  hearsay statement by exploring the hearsay declarant’s credibility. An attempt to


                                             13
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1068         filed 09/23/14    page 14 of
                                                36

  impeach the hearsay declarant’s testimony was well within the government’s rights. See

  Federal Rule of Evidence 806. The government simply asked Fife to describe the CI’s tip

  in more detail to demonstrate that what the CI was really doing was merely passing

  along street gossip; he really did not have firsthand evidence of who was responsible

  for the shooting. This rebuttal evidence was entirely proper. As for Comanse’s rebuttal

  testimony, it was for the jury to decide its reliability. I don’t find it suspicious that the

  government had an idea of what its witnesses would say, or that participants in a

  conversation would remember the conversation similarly; the jury was free to interpret

  the testimony this way.

         Shifting the Burden of Proof in the Closing Argument

         The final argument that Reyes makes in the first section of his brief relates to

  what happened during closing argument. Reyes claims that the government improperly

  shifted the burden of proof to him during its rebuttal argument. Here’s how the issue

  evolved: During closing argument, counsel for Reyes repeatedly argued and made

  reference to the fact that certain key witnesses were not called to the stand by the

  government. See Tr. Vol. 6 at 1558, 1566, 1571. Here’s a sampling: Reyes’s counsel asked,

  “Where is Alfredo Alvarez? Heard a lot about the guy. Where is Alfredo Alvarez? They

  didn’t bring him in here. We’d like to have heard from him.” Tr. Vol. 6 at 1558. A little

  while later counsel returned to that same theme: “Alfredo Alvarez – where is he again?

  Why not bring him in here? Where is he?” Tr. Vol. 6 at 1571.




                                                14
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1068        filed 09/23/14    page 15 of
                                                36

         In its rebuttal argument the prosecutor briefly responded: “Mr. Friedlander [the

  defense counsel] asked a number of questions, where is Cooch [Alvarez]? Where is

  Ernesto? He has the same subpoena powers that we have. He has no burden, of course,

  to put on witnesses; but if he thought those witnesses would help you decide, he could

  bring them here just like I can.” Tr. Vol. 6 at 1587. Reyes did not object to this statement

  when it was made. But he now claims the prosecutor’s comment was improper.

         Post-trial review is limited where the defendant did not object to the conduct

  during the trial. In such a case, the defendant must establish plain error, which means

  that he didn’t get a fair trial and the conduct changed the verdict. United States v. Wright,

  651 F.3d 764, 774 (7th Cir. 2011) (defendant “also argues that remarks and conduct of

  the government were improper and denied him a fair trial. [Defendant], however, did

  not object to any of the arguments he now raises on appeal, and so our review is only

  for plain error, which requires him to establish not only that the remarks denied him a

  fair trial, but also that the outcome of the proceedings would have been different absent

  the remarks.” (quotation marks and citation omitted.)). In the context of missing witness

  comments, “where the defendant himself has broached the subject of a missing witness

  by asking the jury to penalize the government for its failure to produce the witness, a

  prosecutor’s argument to the effect that the defendant has the opportunity to call

  witnesses is proper.” United States v. Villegas, 655 F.3d 662, 672 (7th Cir. 2011) (citing

  United States v. King, 150 F.3d 644, 649 (7th Cir. 1998); United States v. Sblendorio, 830 F.2d

  1382, 1393 (7th Cir. 1987) (finding that the prosecutor’s observation that the defense


                                                15
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1068        filed 09/23/14    page 16 of
                                                36

  could produce a certain witness or witnesses if it wished neither alters the burden of

  proof nor penalizes the exercise of a constitutional right, rather, the argument merely

  conveys information that “[t]he jury is entitled to know”)).

         In general, allegations of prosecutorial misconduct are analyzed to determine

  whether they are so egregious that the defendant was deprived of a fair trial. Such

  allegations are reviewed in the context of the entire trial, especially whether the alleged

  comments or actions unfairly suggested guilt, whether the prosecutor’s behavior was

  isolated or extensive, whether the evidence of guilt was overwhelming, and what

  curative instructions were given. See Rose v. Duckworth, 769 F.2d 402, 405 (7th Cir. 1985);

  see also United States v. Goodapple, 958 F.2d 1402, 1409 (7th Cir. 1992) (first we look at

  whether the remark was proper, if it was improper we look at whether, in the context of

  the entire trial, defendant was deprived of a fair trial).

         The government’s statement was arguably improper. Any impropriety wasn’t

  due to the words of the statement, but to the facts underlying them. The government is

  permitted to respond to the defense’s comments regarding absent witnesses by

  informing the jury that the defense has subpoena power, too. But the prosecution can’t

  mislead the jury. In this case, all of the lawyers well knew that Alvarez was unavailable

  because he had evidently fled. So the government’s comments were arguably

  misleading because they suggested that both sides chose not to call the witness, which

  wasn’t the case. But in fairness, the government’s comments were made in response to

  the defense’s multiple closing argument statements suggesting that the government


                                                16
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1068        filed 09/23/14   page 17 of
                                               36

  could have called Alvarez, but had chosen not to. Yet the defense counsel also well

  knew that the Alvarez was in fact unavailable. So in context, the government was only

  responding to Reyes’s own misleading comments. In any event, there was no objection

  from defense counsel, and this wasn’t a point that the government belabored, but a

  fleeting reference made during substantial closing arguments delivered at the end of a

  substantial trial. In the context of a several-day trial where eyewitnesses testified that

  Reyes drove the minivan and fired the gun that killed Rene Alonzo, it is highly unlikely

  that the prosecution’s comments affected the verdict.

         In sum, I don’t find that it was plain error to allow the prosecution’s statement

  during closing argument to stand without corrective action, given its briefness and the

  lack of objection.

         II.    Denial of the Rule 29 Motion

         Reyes’s second claim is less complicated. He argues that the Court should have

  acquitted him when he requested it during the trial. (DE 946 at 11; DE 829.) He is

  basically asking for reconsideration of my decision not to grant him an acquittal during

  his trial. I considered his motion during the trial, after the close of evidence, and denied

  it. Tr. Vol. 6 at 1502-08. My assessment of this argument remains the same now: there

  was ample evidence to send the case to the jury, and no basis for the Court to overturn

  the jury’s verdict based on a lack of evidence as a matter of law.

         Before considering the sufficiency of the evidence claim, it’s necessary to pause

  and address an argument embedded in Reyes’s second claim. He says that he is entitled


                                               17
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1068        filed 09/23/14       page 18 of
                                               36

  to relief under Federal Rule of Criminal Procedure 34. Rule 34 requires the Court to

  arrest judgment if the indictment doesn’t charge an offense at all, or doesn’t charge an

  offense over which the Court has jurisdiction. Reyes mentions this Rule in the

  introduction to his motion, but doesn’t explain how it could possibly apply, and

  without some explanation I fail to see how it could possibly apply because the charged

  crimes fall within federal jurisdiction and the parties stipulated that they occurred in

  this judicial district. So there is nothing left to say about Reyes’s argument under Rule

  34.

         The defense has argued that the evidence was insufficient because the witnesses

  were biased and unreliable, the testimony among witnesses wasn’t perfectly consistent

  (except when it was too consistent, as among the Latin King witnesses), and there was

  some evidence of possible alternate perpetrators of the murder. Tr. Vol. 6 at 1502-04.

  (DE 829; DE 946 at 12-14.)

         I disagree with Reyes that the evidence wasn’t sufficient to allow a reasonable

  jury to convict him. Many of the witnesses may have had incentives to testify falsely,

  but the defense was free to ask about those incentives, and refer to them in closing

  argument, and in fact did just that. Tr. Vol. 6 at 1556-57, 1561, 1566. The same went for

  the inconsistencies. See, e.g., Tr. Vol. 6 at 1567-68. I didn’t find the government’s

  witnesses so patently unreliable that no reasonable juror could have believed them. It

  was a matter for the jury to sort out.




                                               18
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1068        filed 09/23/14    page 19 of
                                                36

         With respect to the RICO and drug conspiracies, several of Reyes’s former

  criminal associates, some of them Imperial Gangsters, testified about IG rules and

  procedures, drug sales, and other criminal activity, some of it committed with Reyes

  and some without him. (See DE 998 at 13-20.) See, e.g., Tr. Vol. 2 at 311-454 (testimony of

  Joseph Torres); Tr. Vol. 2 at 548, 557-66, 568-70 (testimony of Ace Cortez); Tr. Vol. 3 at

  644-770 (testimony of Anthony Baldazo); Tr. Vol. 4 at 1016-1152 (testimony of Armando

  Ortega); Tr. Vol. 4 at 1187-1223; Tr. Vol. 5 at 1235-1277 (testimony of Eddie Torres, Jr.).

  There was ample evidence of gang activity that included drug buys and sales,

  burglaries, shootings, and gang exercises like doing special handshakes, recruiting new

  members, having meetings and paying dues. Fellow Imperial Gangsters Joseph Torres,

  Ace Cortez and Anthony Baldazo all identified Reyes was an Imperial Gangster who

  never left the gang. Tr. Vol. 2 at 390, 422-24, 426-27, 555-56; Tr. Vol. 3 at 692-93, 695-96,

  699.

         As for the murder in aid of racketeering charge, several eyewitnesses to the

  shooting of Rene Alonzo testified that Reyes was the shooter, Reyes was the driver of

  the minivan, or that the minivan driver was the shooter. See Tr. Vol. 3 at 808-10

  (testimony of Michael Comanse); Tr. Vol. 3 at 861-69 (testimony of Roberto Rodriguez);

  Tr. Vol 4 at 931-37, 941-46 (testimony of Ricardo Perez); Tr. Vol. 4 at 1057-70, 1083-90,

  1128-30 (testimony of Armando Ortega).

         Of course there were inconsistencies among some of the witnesses, and many of

  the witnesses are gang members with reason to lie. But having listened to every witness


                                                19
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1068         filed 09/23/14       page 20 of
                                                36

  and evaluated all of the evidence, I find that none of these points so undermines the

  government’s case that there wasn’t enough evidence to send the case to the jury or that

  the jury’s conviction of Reyes was manifestly unreasonable. On Reyes’s allegation that

  the Latin King witnesses colluded to testify as necessary to convict Reyes, the defense

  offers nothing other than the fact that the Latin King witnesses testified consistently

  about the same events. But whether they were suspiciously too consistent was a matter

  for the jury to decide. Reyes’s motion for judgment of acquittal is therefore denied.

         III.   Non-Admissibility of Reyes’s Statement to Police

         Reyes’s third argument relates to the admissibility of an exculpatory statement

  he made to the police shortly after Alonzo’s murder in which Reyes pointed the finger

  at Ortega and Alvarez as the ones responsible for the murder. Reyes claims that the

  entirety of the statement should have been conveyed to the jury, even though Reyes

  chose not to testify at trial. See Tr. Vol. 4 at 1071-81, 1099-1102. (DE 946 at 14-19.)

         The fact of the matter is that the substance of Reyes’s statement was admitted at

  trial making his claim to the contrary curious. The fact that Reyes had spoken to the

  police and implicated others in the murder came in at trial during the testimony of

  Ortega and Detective Isaac Washington, the lead officer investigating the Alonzo

  murder. Tr. Vol. 4 at 1097, 1108-11, 1138, 1140-41 (testimony of Armando Ortega); Tr.

  Vol. 5 at 1374-77 (testimony of Isaac Washington). Ortega testified at trial that within

  weeks of the murder, Reyes let Ortega know that he (Reyes) had told the police that his

  van had been on loan to Ortega on the night of the shooting. Ortega also testified that a


                                                20
USDC IN/ND case 2:11-cr-00077-PPS-APR               document 1068     filed 09/23/14     page 21 of
                                                   36

  few months before Reyes’s trial, the government showed him Reyes’s full 2007

  statement implicating Ortega in the murder. Reyes’s counsel asked Ortega several

  times, at different points during cross-examination, whether Ortega was angry that

  Reyes had implicated Ortega in the murder, and Ortega responded each time that he

  was not. Detective Washington also testified that he received information about Reyes’s

  red minivan, and that his investigation led him to seek out Ortega. Reyes’s out-of-court

  statement implicating Ortega was admissible to a limited extent because it informed

  Ortega’s and Washington’s behavior afterwards, and it was relevant to Ortega’s

  motivations for testifying against Reyes. Tr. Vol. 4 at 1100, 1138. This was all hashed out

  during the trial. See Tr. Vol. 4 at 1099-1102.

         Reyes nonetheless argues that Reyes’s full statement to the police should have

  been admitted as evidence. (DE 946 at 14, 18.) But a defendant’s out-of-court self-

  serving exculpatory statement to law enforcement is generally inadmissible hearsay,

  unless some exception applies. See, e.g., Stock v. Rednour, 621 F.3d 644, 650 (7th Cir. 2010)

  (“We can assume that [the defendant] would have benefitted from being able to

  introduce out-of-court denials without subjecting himself to cross-examination, but

  excluding this obvious hearsay does not implicate the Confrontation Clause.”), cert.

  den’d, __ U.S. __, 131 S.Ct. 1022 (2011). It is uncontested, and incontestable, that

  witnesses may be cross-examined with respect to issues affecting their credibility,

  motives or bias. See, e.g., United States v. Swanquist, 161 F.3d 1064, 1073 (7th Cir. 1998).

  However, “‘[t]he Confrontation Clause guarantees an opportunity for effective


                                                   21
USDC IN/ND case 2:11-cr-00077-PPS-APR          document 1068       filed 09/23/14   page 22 of
                                              36

  cross-examination, not cross-examination that is effective in whatever way, and to

  whatever extent, the defense might wish.’” Id. (quoting Delaware v. Fensterer, 474 U.S. 15,

  20 (1985)).

         The thing I find baffling about Reyes’s argument now is that at no point does he

  indicate where in the record he was prevented from asking anyone about Reyes’s

  statement to the police. He just baldly asserts that “the defense was prevented from

  fully exploring these biases and motives on the part of the witnesses once it was learned

  not only that Reyes had willingly talked to the police following the shooting, but

  substantively that he had pointed a finger at Armando Ortega, telling the police he lent

  his minivan to Armando at the time of the shooting.” (DE 946 at 17.) Among his Brady

  violation arguments, Reyes states that he wasn’t able to introduce from his statement

  that he had “maintained his innocence, told police he lent his car to Ortega, and that he

  spoke to them within two weeks of the shooting (as opposed to the years that went by

  before the government’s cooperating witnesses’ statements).” (DE 8.) This is bizarre,

  because the transcript I’m looking at includes the following exchanges during Ortega’s

  cross-examination by defense counsel, quoted at length because they clearly belie

  Reyes’s claim of excluded evidence:

                Q. Okay. Well, let’s -- it’s interesting that you brought that
                up. Richard told you that he gave your name to police,
                correct?
                A. Yes, sir.
                Q. And that was on or about somewhere near September
                27th, about 10 or 11 days after the murder, correct?
                A. Yeah. I can’t -- like I said, about a week or so, somewhere
                around there. I mean, they picked him up from his job for

                                              22
USDC IN/ND case 2:11-cr-00077-PPS-APR      document 1068       filed 09/23/14   page 23 of
                                          36

             questioning. And he told me, I mean, soon after that, a few
             days or so after that.
             Q. So he told you, hey, I lent you my van a day before this
             incident at the park.
                     Did he say something along those lines?
             A. No. He told me that when they asked for the van that he
             told them I had it.
             Q. And that wasn’t true?
             A. No, it wasn’t.
             Q. But you didn't go to the police to tell them that wasn’t
             true, correct?
             A. No. Because I was advised under counsel not to go speak
             to any of the police officers.
             Q. Well, at some point in time, did you learn that in addition
             to him lending you the van, when you did return it, he said
             that --
             A. I never had his van. I mean, you’re saying it like I --
             Q. Well, but you learned that he gave that -- that he gave
             that statement implicating you?
             A. He gave that, yes.
             Q. Did you learn anything else about that statement?
             A. After -- long time after, yes.
             Q. Well, can you tell this jury when?
             A. Just they -- I mean, I don’t know, maybe a few months
             ago or something like that. You know, I was shown reports
             of the full statement that he’d given against me.
             Q. So during the cooperation with the government in
             preparation for your trial today, you read Mr. Reyes’s
             statement, correct?
             A. This was after my statement to them.
             Q. Right. But did -- my question is, during the preparation
             for this trial, during the period of cooperation with the
             government, you were shown a copy of his statement, is that
             correct?
             A. Yes.
             Q. And in that statement you learned that he implicated
             you, is that correct?
             A. Yes.
             Q. How did you feel about that?
             A. Well, like I said, I was told this before, but I think the
             drugs just kind of, like, had a grip on me at the time that I
             didn't really fully comprehend what he had just done when

                                          23
USDC IN/ND case 2:11-cr-00077-PPS-APR          document 1068        filed 09/23/14   page 24 of
                                              36

                he told me that. And I just kind of -- like I said, again, under
                the advice of very good counsel, I was told that they had
                nothing. They wouldn't get nothing. So I guess I felt I had
                nothing to worry about.
                ...
                Q. You were mad at Richie that he went to the police ten
                days afterwards and gave that statement, is that correct?
                A. No, sir.
                Q. No?
                A. No.
                ...
                Q. So at the end of the day you’re sitting here completely
                taken out of the murder scenario, correct? [Referring to
                Ortega’s plea deal, whereby he wouldn’t be charged with
                the murder if he testified truthfully, although he was present
                during the murder and brought the gun that Reyes used.]
                A. Because I told the true testimony, yes.
                Q. Four years later?
                A. Four years later or five.
                Q. And Mr. Reyes went in -- and Mr. Reyes went in 10 or 11
                days later and gave his statement talking about you,
                correct?
                A. Yes, he did.
                Q. So you had no love loss for Richie Reyes, correct?
                A. What do you mean?
                Q. Well, you were pissed off at him?
                A. No, I think if I was pissed off, I probably would have
                went right away. I don’t see that -- like I said, four years
                later. It’s a heavy burden to deal with. It’s something that
                I was just tired of carrying around with me.

  Tr. Vol. 4 at 1109:2-25, 1110:1-25, 1111:1-5, 1138:1-5, 1139:25, 1140:1-14 (emphasis added).

  The defense raised its argument during its closing, and again mentioned all of the

  points Reyes now claims to have been prevented from mentioning. Tr. Vol. 6 at 1573.

         I didn’t decide, and the government didn’t argue, that Reyes’s statement to

  police couldn’t be referenced in asking witnesses about their motives or biases. The fact

  is that Reyes’s attorney didn’t try to ask most of the witnesses about Reyes’s statement

                                              24
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1068       filed 09/23/14    page 25 of
                                               36

  to police, and when he did want to ask Ortega and Detective Washington about it, he

  was allowed to do so.

         To repeat for the sake of clarity and emphasis, the only thing Reyes wasn’t

  allowed to do was to get the entire statement in verbatim. At trial, in a sidebar

  conversation during Ortega’s testimony, Reyes’s counsel argued for the admission of

  Reyes’s entire statement. He cited to Federal Rule of Evidence 807, a residual, or catch-

  all, exception for the admission of hearsay when the statement has circumstantial

  guarantees of trustworthiness, it is more probative of a material fact than any other

  evidence its proponent can reasonably obtain, and admitting it is in the interests of

  justice. None of those things can be said of the defendant’s prior statement to police

  pointing the finger at someone else when he was picked up as a potential suspect. It is

  quite likely that a murder suspect will lie to implicate someone else and exculpate

  himself, so the statement bears no indicia of trustworthiness. Reyes could have testified

  if he wanted to reassert his inculpation of Ortega and discuss his prior consistent

  statement implicating Ortega. Reyes’s attorney offered no other category of exception

  the statement fell into as a general matter, beyond its effect on listeners’ actions and

  motives, and he was able to probe those topics quite thoroughly without using the full

  statement.

         In short, Reyes wanted to eat his cake and have it still, deciding not to expose

  himself to the witness stand and jury scrutiny at trial, but testifying by proxy through




                                               25
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1068        filed 09/23/14     page 26 of
                                                36

  his previous self-serving statement to the police, in which he pointed the finger for the

  murder at others. This is improper. As the Seventh Circuit recently stated:

                Criminal defendants often face difficult choices in weighing
                the costs and benefits of testifying. And the rules of evidence
                sometimes prevent defendants from getting their story—or
                evidence of their state of mind—before the jury in the
                particular manner they would prefer. For instance, the
                general rule against hearsay would typically prevent a
                defendant from calling a friend to the stand to relay an
                exculpatory statement the defendant said to her, in lieu of
                the defendant testifying himself. Thus, the rule against
                hearsay may burden the defendant’s right to testify . . . [but]
                [t]hat sort of burden is not impermissible . . . .

  United States v. Beavers, 756 F.3d 1044, 1051 (7th Cir. 2014) (emphasis in original)

  (citations omitted). Reyes’s statement to the police was inadmissible, and was properly

  excluded.

         IV.    Conspiracy Evidence of Violence and Murder

         Reyes next argues that the government was allowed to get in too much evidence

  of the Imperial Gangsters’ murderous and violent behavior, to the point of being

  cumulative and unfairly prejudicial. Reyes was charged with being part of a gang

  conspiracy. The government therefore had to prove that Reyes and others agreed to

  jointly participate in a criminal enterprise, in this case a street gang. By definition, then,

  it would have been insufficient to offer evidence only of crimes that Reyes committed.

  The government needed to show that there was a criminal enterprise underway that

  was larger than just Reyes himself. To that end, the government offered evidence of

  drug sales by various members of the gang, and of three murders other than the one


                                                26
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1068       filed 09/23/14       page 27 of
                                               36

  with which Reyes was charged personally. That is, Reyes had no personal involvement

  in those three murders other than being a part of the gang in the name of which the

  murders were committed. Reyes’s argument during trial, and again now, is that the

  evidence of several gang murders was overly prejudicial to Reyes, and led the jury to

  convict him because he was generally tarnished by testimony about wanton street

  violence and photos of bullet-riddled bodies.

         This issue arises out of the tension between Federal Rules of Evidence 401 and

  403. Generally, evidence is admissible if it is relevant. Under Rule 401, evidence is

  relevant if it makes a material fact (one that matters in the case) more or less probable

  than that fact would be without the evidence – that is, if it is probative. Rule 403

  tempers the general admissibility of relevant evidence. Under it, the court may exclude

  relevant evidence if its probative value is substantially outweighed by the danger of

  unfair prejudice, confusing the issues, or needlessly presenting cumulative evidence,

  among other undesirable effects. Reyes argues that the government’s presentation of

  evidence of three murders and additional violence Reyes did not commit himself

  unfairly prejudiced the jury against him by association, muddled the issue of what

  Reyes himself did, and was cumulative in that it just piled on evidence of violence,

  overwhelming the jury.

         In the current motion, the defense points out three places in the trial where he

  says the testimony crossed the line between appropriately probative and unfairly

  prejudicial. I note preliminarily that the testimony was cut off during all three, either by


                                               27
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1068        filed 09/23/14    page 28 of
                                               36

  a sustained objection or as initiated by the Court. First, Anthony Baldazo was in the

  midst of describing the many violent activities of Imperial Gangster leader Sal Chavez

  when I called the lawyers to the bench and stopped the prosecution, telling the lawyers

  “I think this is getting cumulative.” Tr. Vol. 3 at 683:14. I elaborated that “[a]t some

  point, it becomes more prejudicial than probative, and I think it’s getting to that point.

  So I’m going to exercise my discretion and ask that you move on to another subject

  matter.” Tr. Vol. 3 at 683:17-20. The second instance the defense points out was when

  the government was trying to get Baldazo to pinpoint the amount of cocaine that Reyes

  distributed. After the government’s third question narrowing the range, defense

  counsel objected on the ground that the question was leading, and I sustained the

  objection, and noted that the testimony the government sought would be cumulative.

  The government immediately moved on to another topic. Tr. Vol. 3 at 714. The final

  instance that Reyes’s motion cites was when the government offered photos of Imperial

  Gangsters including Reyes throwing gang signs. Defense counsel objected to the

  testimony as cumulative, and the objection was sustained. Tr. Vol. 4 at 988.

         There was substantial evidence of violence and murder and illegal narcotics

  sales, but as I said in my ruling during the trial, I don’t agree with Reyes that it crossed

  the line into unfair, confusing, or cumulative. The examples in Reyes’s motion in fact

  belie his argument. When the evidence began to near the line it was promptly ended, if

  not by defense objection then sua sponte by the Court. The examples demonstrate that

  defense counsel and I were both attuned to the issue during trial, and acted as necessary


                                               28
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1068       filed 09/23/14    page 29 of
                                               36

  to prevent unfairly prejudicial evidence from being introduced. I must note that the

  government had evidence of thirteen additional Imperial Gangster-perpetrated murders,

  and of other illegal activity, but it only presented a small portion of that evidence.

         The evidence of the three murders not committed by Reyes, but by other

  members of the enterprise, was presented through only two witnesses each (a law

  enforcement officer and an eyewitness for each) and three relatively non-inflammatory

  photos for each. All three of these murders were alleged in the racketeering conspiracy

  count of the indictment and these murders were all relevant to proving that the

  Imperial Gangsters were a criminal enterprise.

         The defense raised this objection before trial, and I addressed it thoroughly

  towards the beginning of trial. Here’s what I said:

                        And there is one thing that I want to just state on the
                record and just shore up the ruling I made last night ‘cause I
                thought it might be helpful to give a more robust record as
                to why I’m allowing the government to introduce the
                evidence that we talked about at the end of the day
                yesterday. But the government, you know, moved in limine
                for a ruling that it be permitted to introduce evidence of -- at
                the trial – of homicides and other crimes committed by Mr.
                Reyes’[s] co-conspirators in furtherance of the RICO
                conspiracy that’s charged in the Indictment. The government
                also filed, previous to that, a Notice of Intent to Introduce
                Enterprise Evidence; that was Document 732 on the docket.
                The defendant, of course, has opposed those filings.
                        Earlier I had issued a written order that I was
                reserving ruling on the government’s motion in limine; that
                is document -- Docket Entry 817.
                        So yesterday evening, outside the presence of the
                jury, the government, as I requested them to do, indicated its
                intent to offer evidence of four homicides that were charged
                in Count One of the Indictment, which is the racketeering

                                               29
USDC IN/ND case 2:11-cr-00077-PPS-APR       document 1068        filed 09/23/14   page 30 of
                                           36

             and conspiracy count. Three of those homicides are alleged
             to have been committed by co-conspirators other than Mr.
             Reyes, and the fourth homicide is the one that Mr. Reyes
             himself is charged with.
                     The defendant has objected to the admission of the
             three homicides not involving Mr. Reyes as being overly
             prejudicial under Federal Rule of Evidence 403.
                     As I outlined in my written order on the
             government’s motion, I expressed, you know, some concern
             over the connection between the homicide evidence and the
             existence of the criminal enterprise, which the government
             has indicated is really the purpose for which it is offering
             this homicide evidence.
             ...
                     The government has proffered that this evidence of
             this homicide will establish the existence or help to prove the
             existence of a criminal enterprise in a couple of ways: First,
             that the members of the 139th Street set as well as the 149th
             Street set were actually working together and were a single
             criminal enterprise and also that the IGs had this rule or
             policy that they were to shoot rival gang members on sight.
             The government also argues that because this particular
             homicide is charged in the Indictment specifically it’s
             relevant to the crime charged.
                     The defendant, as I mentioned, has objected saying
             that this evidence should be excluded under Rule 403 as
             unduly prejudicial. The defendant has argued that the
             government has a number of other means by which they can
             prove the existence of the enterprise through less prejudicial
             means, such as by the commission of crimes by
             co-conspirators that are other than homicides or by other
             type of evidence dealing with the gang activity.
                     He’s also objected that because Mr. Alvarez, the
             victim, was not, in fact, a rival gang member and was
             actually trying to become an IG, that the homicide could not
             have been committed in furtherance of the conspiracy and
             it’s not evidence of the existence of a criminal enterprise.
                     As I noted earlier, in order to prove a RICO
             conspiracy, the government has to prove three things:
                     First, an agreement to conduct or participate in the
             affairs; second, of an enterprise; and, third, through a pattern


                                           30
USDC IN/ND case 2:11-cr-00077-PPS-APR         document 1068        filed 09/23/14   page 31 of
                                             36

             of racketeering activity. United States v. Olson, 450 F.3d 655
             at 664, 7th Circuit from 2006.
                     Evidence of the Alvarez homicide is admissible as an
             overt act in furtherance of the conspiracy; and, more
             particularly, it’s evidence of the existence of an enterprise.
                     So, first, the -- sort of the 401 analysis, Federal Rule of
             Evidence 401, the evidence is relevant, again, I think,
             specifically, to help prove the existence of the enterprise.
             ...
                     The next consideration, which is the defendant’s real
             concern, is under Rule 403. And 403, of course, sanctions the
             exclusion of evidence only when the evidence’s prejudicial
             effect substantially outweighs the probative value. And for
             the reasons I’ve just stated, I do find this evidence to be very
             probative of the existence of the enterprise, and the danger
             of unfair prejudice does not outweigh that value as I see it.
                     The government doesn’t have to prove its case
             through the least prejudicial means. Just because evidence
             may be highly prejudicial does not compel its exclusion. The
             evidence has to be unfairly prejudicial. See, for example,
             United States v. Loughry, L-O-U-G-H-R-Y, 738 F.3d 166 or
             United States v.Chambers, 642 F.3d 588 at 595.
                     So here, to me, all indications are that the
             government, frankly, is being fairly judicious in the
             presentation of the evidence that they have available to it.
             The Indictment sets forth what the government claims are 14
             homicides committed by the Imperial Gangsters and this
             association-in-fact enterprise or in furtherance of that
             enterprise.
                     The government has selected three homicides that it
             claims are sort of representative of the types of activity that
             the gang routinely engaged in, and these three homicides
             help to prove the existence of that enterprise. The
             government’s not offering evidence of ten other homicides;
             and I, therefore, find that the evidence is not
             unduly prejudicial. It’s not overly cumulative that I think it
             strikes a fair balance here between allowing the government
             to try its case in proving the existence of an enterprise but
             also protecting the defendant against undue prejudice.
                     So for all of those reasons, I’m gonna allow this
             evidence in.
             ...

                                             31
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1068        filed 09/23/14    page 32 of
                                               36

                        [M]y ruling as it stands right now only relates to the
                first [murder].
                ...
                        And I want to hear the proffer of the evidence before
                [the prosecution] introduce[s] the next two as well so I can
                make a determination that it is, in fact, evidence that makes
                more or less likely the existence of an enterprise.

  Tr. Vol. 2 at 288-94.

         Throughout the trial I was clear with the government that evidence of IG crime

  unconnected to Reyes’s own acts was only coming in if it was clearly connected to

  proving the existence of the enterprise and was non-cumulative, and I was proactive

  with respect to enforcing those decisions. See, e.g., Tr. Vol. 2 at 288-91 (addressing the

  issue of the three other murders generally, and addressing specifically testimony about

  the murder of Jesus Alvarez by Imperial Gangsters Galo Feliciano and Joseph Torres);

  Tr. Vol. 2 at 457-60, 462-63 (regarding testimony and photographic evidence about the

  murder of Mario Soriano by Imperial Gangster Julian Serna); Tr. Vol. 2 at 516-18

  (regarding evidence of the murder of Anuar Paez by Imperial Gangster Ace Cortez).

          A RICO conspiracy, by its nature, requires substantial evidence of criminal

  activity by various members of the conspiracy that may not have been committed by

  the particular defendant on trial. See United States v. Salerno, 108 F.3d 730, 739 (7th Cir.

  1997) (“It is difficult to comprehend how one could prove the existence of an enterprise

  comprised of ‘a group of individuals associated in fact,’ and organized solely for the

  purpose of committing crimes, without presenting evidence of the crimes that detail the

  structure, common purpose, and continuity of the charged enterprise. Thus, we have


                                               32
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1068        filed 09/23/14    page 33 of
                                               36

  allowed the government to use uncharged criminal acts in a RICO prosecution to prove

  the nature of an enterprise and the defendant’s participation in it.”).

         In sum, the amount of evidence admitted in Reyes’s trial relating to the existence

  of a criminal enterprise struck the appropriate Rule 403 balance. Only evidence of three

  murders (not including the one Reyes was charged with) was admitted at trial. Ten

  other murders that were alleged in the RICO conspiracy count of the indictment were

  not even pursued by the government. Each of the three murders that were introduced

  were presented in a straight-forward and non-prejudicial way. The evidence was highly

  probative in proving the existence of the criminal enterprise, and it was therefore

  properly admitted at trial.

         V.     Allegations of Jury Impropriety

         Reyes’s final argument alleges jury impropriety and seeks to interview jurors. He

  previously filed a separate motion asking for exactly the same thing, for exactly the

  same reasons (DE 924), and in fact describes the treatment in this later compound

  motion as a reply to the government’s response to his previous motion. (DE 946 at 21.)

  Reyes suggests that the jury convicted him based on gang-related fear (although there

  are only vague insinuations of what or who frightened them), and makes a vague

  allegation that perhaps some member of the jury had an undisclosed connection to the

  Latin Kings gang.

         I’ve already addressed this issue in denying Reyes’s separate motion to interview

  the jurors. (DE 960.) This District’s local rules require a party or attorney to seek court


                                               33
USDC IN/ND case 2:11-cr-00077-PPS-APR             document 1068        filed 09/23/14     page 34 of
                                                 36

  permission to contact jurors off the record. N.D. Ind. L.R. 47-2. Trial courts have

  substantial discretion in deciding whether to allow such contact with jurors. In deciding

  whether this contact is appropriate, reference is often made to Federal Rule of Evidence

  606(b), which governs the topics a juror may testify about during an evidentiary

  hearing. Internal jury processes are off limits, but outside influences are fair game. See,

  e.g., United States v. Torres-Chavez, 744 F.3d 988, 997 (7th Cir. 2014); see also, Tanner v.

  United States, 483 U.S. 107, 119-20 (1987). To protect the jury system by preventing post-

  trial imposition on jurors from becoming a regular occurrence, a party seeking to

  interview jurors has to make a threshold showing, alleging something specific and a

  basis for that allegation. See, e.g., United States v. Wilson, 715 F.2d 1164, 1172 (7th Cir.

  1983) (defendant required to prove communication occurred before interviewing

  jurors); United States v. Gravely, 840 F.2d 1156, 1159 (4th Cir. 1988) (“Defendant’s request

  was properly denied because he made no threshold showing of improper outside

  influence.”); United States v. Davila, 704 F.2d 749, 754 (5th Cir. 1983) (“Defendants failed

  to make any preliminary showing of misconduct. The motion sought simply to discover

  what happened in the jury’s deliberations in the hope of uncovering an impropriety.”);

  King v. United States, 576 F.2d 432, 438 (2nd Cir. 1978) (“[T]o authorize a post-verdict

  inquiry, there must be ‘clear evidence’, ‘strong evidence’, ‘clear and incontrovertible

  evidence’, ‘substantial if not wholly conclusive evidence’.”).

         Here, Reyes’s attempt to meet the threshold requirement consists of describing

  the jury’s notes to the Court during deliberations with an unwarranted leap to the


                                                 34
USDC IN/ND case 2:11-cr-00077-PPS-APR            document 1068        filed 09/23/14    page 35 of
                                                36

  conclusion that external influences were at play. He also states that “it is believed that a

  member of the jury may have a possible relation to a member of the Latin Kings.” (DE

  946 at 22.) Which juror this is, or what the “relation” is, or what the belief is based on

  are is all left unsaid.

         The jury’s notes asked (1) whether the jury foreperson would be publicly

  identified (expressing concern at this prospect), (2) for clarification between two jury

  instructions, and (3) for a new copy of the verdict sheet. Defense counsel was consulted

  before the Court responded to each note, and expressed no objections to the Court’s

  proposed responses. Tr. Vol. 6 at 1628, 1632, 1633. After the jury was polled the defense

  said no when I asked if there was anything that required discussion. Tr. Vol. 6 at 1639.

  In any event, I can’t see anything inherent in the notes, individually or taken together,

  that suggests they originated from anything other than the internal workings of the

  jury. The latter two notes relate to jury instructions and the verdict sheet, which are

  absolutely related to the jury’s inner processes, and could only be. The first note might

  theoretically be related to external forces, but is at least equally as likely to have resulted

  from the evidence presented at trial of gang violence, and the latter doesn’t invalidate a

  jury’s verdict. See United States v. McAnderson, 914 F.2d 934, 943 (7th Cir. 1990). Without

  a threshold showing that external forces were at play, I can’t just assume they were –

  there’s simply no basis to do so.

         As I wrote in my previous Order on this subject, “Reyes offers only threadbare

  factual assertions and an unpersuasive interpretation of the trial record in support of his


                                                35
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1068       filed 09/23/14   page 36 of
                                               36

  request for extraordinary permission to privately interview the jurors. The request must

  be denied. The jurors in this difficult case diligently performed their service, and they

  ought not be harassed by curious lawyers acting on a hunch.” (DE 960 at 7-8.) See also,

  United States v. DiDomenico, 78 F.3d 294, 302 (7th Cir. 1996).

                                       CONCLUSION

         There is no basis to overturn the jury’s verdict and acquit Reyes or order a new

  trial, and so Reyes’s motion is DENIED. (DE 946.)

         SO ORDERED.

         ENTERED: September 23, 2014

                                            /s/ Philip P. Simon
                                            PHILIP P. SIMON, CHIEF JUDGE
                                            UNITED STATES DISTRICT COURT




                                              36
